                                                    ( Page 1 of 2
      Case 2:94-cr-00040-JEG Document 14 Filed 08/29/94

                                                                  U.S. r


                  IN THE UNITED STATES DISTRICT COURT
                                                              ucZJ         II o   LJ '
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION               SO.

UNITED STATES OF AMERICA           *
                                   *
vs.                                *          Case No. CR294-40
                                   *
TYRONE D. SALAZAR                  *
                                   *
      Defendant                    *


                            MOTION TO DISMISS
      NOW COMES Defendant in the above styled action, and moves this
Honorable Court for an order dismissing any and all charges against
Defendant in the above styled accusation and shows the Court as
follows:
       (1) Because Defendant's constitutional rights (a) against
self-incrimination,      (b) to equal protection,            (c) against
warrantless arrest without proper probable cause for detention, and
(d) to due process of law under the United States Constitution and
the Georgia Constitution have been violated, the Defendant
respectfully requests that all charges brought against him by the
State be dismissed by this court.
       (2)Because Defendant was improperly required to perform field
sobriety tests and improperly required to submit to Alco-Sensor
test without first being advised that he had a choice as to whether
or not to submit to these non-mandatory tests, all subsequent
evidence based upon the "fruits of the poisonous tree" must be
suppressed. Without these screening tests, the arresting officer
could not have developed sufficient facts to constitute probable
cause for arrest of the Defendant.
    Case 2:94-cr-00040-JEG Document 14 Filed 08/29/94 Page 2 of 2




     (3) The arresting officer made materially misleading
statements to Defendant regarding the state's chemical test. Due
to such inappropriate actions by the State's agent, the charges
against Defendant should be dismissed. Without evidence of
Defendant's refusal to take the test, there is insufficient
evidence of impairment or intoxication to support a conviction for
drunk driving.
     WHEREFORE, the Defendant prays for dismissal of all charges
against him based on each and every one of the foregoing grounds,
and respectfully requests that this Honorable Court consider each
numbered ground as asparate and distinct request for dismissal.
     Dated: August        , 1994.

                                              EMIXONTIZIMOUMU

                                                     LJ•   A. 3.0 A. A.
                                               .4/
                                         ttbr ey fo     endant
                                        Stat   ar No. 572750
P.O. Box 875
St, Marys, GA 31558
(912) 882-3944
